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		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF ADRIANSE

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF ADRIANSE2021 OK 22Case Number: SCBD-7007Decided: 05/03/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 22, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


&nbsp;


IN THE MATTER OF THE REINSTATEMENT OF: ASHLEY K. ADRIANSE TO MEMBERSHIP IN THE OKLAHOMA BAR ASSOCIATION AND TO THE ROLL OF ATTORNEYS.



ORDER



¶1 Petitioner, Ashley K. Adrianse, graduated from University of Kansas School of Law in May 2008. After graduation, Petitioner successfully passed the Connecticut Bar Examination and was admitted to the Connecticut Bar on October 27, 2008. On April 7, 2014, Petitioner was admitted to the Oklahoma Bar Association (OBA), and her name was entered onto the Roll of Attorneys upon a Motion for Reciprocal Admission to the Oklahoma Bar. On April 11, 2014, Petitioner took the judicial oath to practice law in Oklahoma. Petitioner resided in Oklahoma and practiced law until April 21, 2016.

¶2 Believing she would not be returning to Oklahoma, Petitioner voluntarily resigned from the OBA on December 22, 2016. The OBA accepted her resignation on January 5, 2017. On December 18, 2020, Petitioner filed a petition for reinstatement pursuant to Rule 11 of the Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A.

¶3 Respondent published notification of the March 23, 2021 hearing on www.okbar.org1 and in the Naperville Sun and Journal Record. The Trial Panel of the Professional Responsibility Tribunal found Adrianse possesses good moral character which would entitle her to reinstatement, that Adrianse did not engage in any unauthorized practice of law during her resignation from the OBA, and that Adrianse possesses competency and learning in the law required for admission to practice law in Oklahoma. The Trial Panel recommended Adrianse be reinstated immediately, upon payment of current dues.

¶4 After de novo review of the record, we find the following by clear and convincing evidence:

1. Petitioner has complied with the procedural requirements necessary for reinstatement. Petitioner has not been disbarred from the OBA or any other state or federal bar and has not resigned pending disciplinary proceedings from the OBA or any other state or federal bar.

2. Petitioner attested that her only places of residence since her name was stricken from the Oklahoma Roll of Attorneys are Naperville, Illinois and Edmond, Oklahoma. Pursuant to RGDP 11.1(a), Petitioner submitted affidavits from the Court Clerks for Oklahoma County, Oklahoma, and Will County, Illinois stating that she has not practiced law in either county at any time after January 5, 2017 or ever, respectively. Petitioner has established that she has not engaged in the unauthorized practice of law during the period following her resignation.

3. Petitioner submitted six letters in support of her good moral character and competence in law. Additionally, four witnesses presented themselves via Zoom on behalf of Petitioner and testified as to her good moral character and competence in the law. Petitioner has established that she possesses the good moral character necessary for reinstatement to the OBA.

4. Petitioner testified that she is current on Continuing Legal Education requirements with the State Bar of Connecticut. Further, Petitioner earned 8 hours of Oklahoma CLE in 2021, prior to the hearing, refreshing her knowledge of Oklahoma law. Petitioner has established that she possesses the competency and learning in the law required for reinstatement without re-examination.

5. The Trial Panel recommended that Petitioner's Petition for Reinstatement to the OBA should be granted. On April 20, 2021, Petitioner and Respondent filed a motion to waive briefs, asserting that they both agree with the findings and recommendations of the Trial Panel.

6. Respondent filed an Application to Assess Costs in the amount of $211.75.

¶11 IT IS THEREFORE ORDERED that the petition of Ashley K. Adrianse for reinstatement is granted. Reinstatement is conditioned upon Adrianse's payment of 2021 dues to the OBA within thirty days of the date of this order. Upon payment of her 2021 membership dues, Adrianse shall be reinstated to membership in the OBA, and her name shall be reinstated to the Roll of Attorneys licensed to practice law in the State of Oklahoma. Adrianse shall complete mandatory continuing legal education for calendar year 2021 in the same manner as other members of the OBA.

¶12 IT IS ALSO ORDERED that Respondent's Application to Assess Costs is granted. Adrianse shall pay costs in the amount of $211.75 within thirty days of the date of this Order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 3rd DAY OF MAY, 2021.


/S/CHIEF JUSTICE



FOOTNOTES


1We note that this publication does not meet the requirements of RGDP 11.3(b), but we accept it in lieu of publication in the Oklahoma Bar Journal rather than penalize Petitioner for other's actions.








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